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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                      Case Number: 21-22246-CIV-MARTINEZ-BECERRA

  CARLOS A. ESCOBAR ROMERO,

         Plaintiff,

  v.

  COMMISSIONER OF SOCIAL SECURITY,

        Defendant.
  _____________________________________/

   ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
          THE MATTER was referred to the Honorable Jacqueline Becerra, United States
  Magistrate Judge, for a Report and Recommendation on Plaintiff’s Unopposed Motion for
  Attorneys’ Fees Pursuant to the Equal Access to Justice Act (the “Motion”), (ECF No. 25).
  Magistrate Judge Becerra filed a Report and Recommendation, recommending that the Motion be
  granted. (ECF No. 26.)
          The Court has reviewed the entire file and record, and notes that no objections have been
  filed. Accordingly, after careful consideration, it is hereby ORDERED AND ADJUDGED that
          1.      United States Magistrate Judge Becerra’s Report and Recommendation, (ECF No.
          26), is AFFIRMED and ADOPTED.
          2.      The Motion, (ECF No. 25), is GRANTED and attorneys’ fees in the amount of
          $6,660.30 be awarded to Plaintiff and be made payable to Plaintiff’s counsel, unless
          Plaintiff owes a federal debt, in which case any payment shall be made payable directly to
          Plaintiff and delivered to Plaintiff’s counsel.
          DONE AND ORDERED in Chambers at Miami, Florida, this 23rd day of June, 2022.


                                                      ____________________________________
                                                      JOSE E. MARTINEZ
                                                      UNITED STATES DISTRICT JUDGE
  Copies provided to:
  Magistrate Judge Becerra
  All Counsel of Record
